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DECLARATION OF GREG HAMILTON

I, Greg Hamilton, hereby declare as follows:

1. Iam one of the Relators in United States ex rel Sun et al. v. Baxter. If called upon to
do so, I could and would testify competently to the following based upon firsthand knowledge.

2. Ihave worked for pharmaceutical manufacturers and pharmacy benefit managers for
over twenty years. During this time I have had extensive contact with Baxter’s senior staff as a
customer, a colleague and as a competitor. This contact has included numerous meetings
Guiheen (the President of Baxter BioScience who is referred to in 945 of the Complaint) as well
as his superior, Peter O’Malley. Those meetings specifically concerned the pricing of several of
the Baxter products discussed in this Complaint.

3. From 2001 — 2004 I was the Senior Director of Strategic Sales and Planning at
Specialty Distribution Services for Express Scripts, the Pharmacy Benefit Manager. From 2004
~ 2006 I was the Vice-President of the Curascript Bleeding Disorder Program. (CuraScript is an
operating division of Express Scripts.)

4, While serving in these positions I frequently met with Baxter’s senior management to
discuss the market for hemophilia products. Because the market for hemophilia products is
extremely lucrative, national hemophilia meetings were typically attended by the leadership from
concerned pharmaceutical companies and PBMs. At these conferences I would hold scheduled
meetings with Larry Guiheen, who was then Baxter’s Vice-President for North America, as well
has his boss, Peter O’Malley. I also made at least three trips to Baxter’s Deerfield, Illinois,
offices to meet with Baxter managers to discuss pricing. At least one of those meetings took
place at the request of Peter O’Malley, who was either Baxter’s President of North American

operations, or vice President of Sales. O’Malley asked me to meet with Baxter’s contracting

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staff and describe how to price products for Government customers, and how pricing for the
340B program operates,

5. [had at least three such meetings with Baxter to discuss pricing in barely a year —
August 8, 2002, February 3, 2003, and September 26, 2003.

6. During one such meeting I had a long discussion with Larry Guiheen about Baxter’s
pricing of Advate (Baxter’s version of Recombinant Factor VIII.) Within a few months of this
meeting Baxter changed its price for Advate to within a penny of what [ had recommended.

7. In addition to being a major customer of Baxter’s through my work with Express

Scripts and Curascript, I also interacted with Baxter’s pricing managers as a competitor of
Baxter’s when I worked for Bayer. While working for Bayer, I served with Baxter executive
Peter Q’ Malley on the Plasma Protein and Therapeutics Association’s Reimbursement
Committee, and Drug Recall Committee, and had numerous discussions with him about pricing
strategies.

8. In addition to my direct discussions with Baxter managers, I learned of Baxter’s
pricing and some of the specific acts alleged in [36-40 of our complaint while trying to help
Kay Morgan, Manager of Editorial Services for First Data Bank. In May or early June of 2001
Kay Morgan called and asked my opinion about why Baxter was refusing to provide its WAC
for Recombinate. She told me that Baxter sent a letter saying that their list price was $1.31 and
they wanted their AWP reported as $1.31. She told me that when she asked Baxter for the
WAC, Baxter merely repeated that the list price for Recombinate was $1.31 and that they
wanted ihe AWP reported as $1.31. Morgan told me that FDB was so mad that they threatened

not to publish any information at all.
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9, Morgan told me that she, her boss, and the FDB legal department wrote a letter to
Baxter threatening that FDB would refuse to publish the AWP information.

10. Morgan asked me what | thought Baxter was trying to accomplish by this. I told her
that I thought Baxter’s goal was to establish an AWP was attractive to the distributors, but to still
be able to deny to the hemophilia community that it was Baxter’s fault for the high AWP, and to
blame FDB,

ll. Throughout my years in the industry I was able to achieve a high level of
understanding of Baxter’s pricing structure from direct discussions with Baxter’s senior
management, as well as through the information given me by FDB.

12. The Market Research Bureau’s PLASMA FRACTIONS MARKET IN THE US
report is an annual publication for the Plasma industry. This industry is a classic oligopoly
consisting of less than 7 manufacturers.

13. The Market Research Bureau was founded and is operated by Patrick Robert, a

former Bayer employee and colleague. He left Bayer and created MRB in the mid 90’s to
provide the Plasma industry with a much needed data source. The standard source for the drug

industry is IMS Health, however they do not audit/cover plasma products.
14. On September 13, 2009 I called The Market Research Bureau and spoke with Cindy

Lynn, Patrick Robert’s secretary, She told me that a single issue of this publication costs

516,000, and that there are fewer than 20 subscribers, including manufacturers, a few specialty

pharmacies, and a few 340d entities. She also told me that they do not sell or give any of their

reports to university libraries or public libraries.
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Case 1:01-cv-12 PBS Document6506 ~~ File

I declare under penalty of perjury under the laws of the state of [linois that the

foregoing is true and correct. Executed this [5th day of September, 2009, at Algonquin, Illinois.

/sf Greg Hamilon

Greg Hamilton
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Case 1:01-cv-12257-PBS Document 6506 ~~ Filed 09/15/2009 Page 41 of

CERTIFICATE OF SERVICE

Thereby certify that 1, Mark Kleiman, an attorney, caused a true and correct copy of the
foregoing, MEMORANDUM IN OPPOSITION TO BAXTER INTERNATIONAL INC’S
MOTION TO DISMISS RELATORS’ COMPLAINT, to be delivered to all counsel of record
by electronic service on September [5, 2009, for the posting and notification to all parties.

By: __/s/_ Mark Allen Kleiman
MARK ALLEN RLEIMAN
California State Bar No. 1 £5959
2907 Stanford Avenue
Venice, CA 90292
310-306-8094
310-306-8491 (fax)

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Mark ALLEN KLEIMAN

LAWYER
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12400 WILSHIRE BOULEVARD FACSIMILE (310) 442-4830
LOS ANGELES, CALIFORNIA 90025 MARKKLEIMAN@EARTHLINK.NET
Of Counsel
BethAnne Yeager
April 22, 2005
Hon. Alberto Gonzales Michael Theis
Attorney General Assistant United States Attorney
Department of Justice 1225 17" Street
Department of Justice Suite Seven Hundred
10" & Constitution Ave, N.W. Denver, Colorado 80202

Washington, D.C. 20530

Re: United States ex rel Sun, et. al., v. Baxter Hemoglobin Therapeutics, et. al

Dear General Gonzales and Mr. Theis:

I am pleased to forward to-you the complaint along with this statement disclosing all material
evidence. The immediately available evidence is scant. Only one of the two relators, Ms. Linnette Sun, was
employed by Baxter, and her opposition to the practices described herein led t Baxter firing her in and giving
her no opportunity to preserve documentary evidence. The other relator, Mr. Greg Hamilton, developed his
knowledge of Baxter’s practices from his intimate familiarity with the industry, but had no opportunity to
develop documentary evidence.

Weare nonetheless enclosing two items which will be helpful to an understanding of the allegations:

Exhibit 1 is a tabular summary of the AWP stated by First DataBank for the various products at issue
in this case,

Exhibit 2 is a monograph on the Plasma Fractions Market and explains how the market operates, how
products are priced, and describes the distribution chain. (The bookmarks in the PDF are my own, and not

those of the monograph’s author.)

I will be happy to make hard copies of these documents available if you find that preferable. We
look forward to working with you.

Sincerely,

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Enclosure

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SUMMARY OF FIRST DATA BANK INFORMATION ON SELECTED DRUGS

Drug Name Unit NDC Current AWP | Prior Prior
Strength and Release AWP AWP
Date
Advate 1000U 00944294003 | 05/13/04 08/25/03
$1.7500 $1.8800
Advate 1500U 00944294004 | 05/13/04 08/25/03
$1.7500 $1.8800
Advate 250U 00944294001 | 05/13/04 08/25/03
$1.7500 $1.8800
Advate 500U 00944294002 | 05/13/04 08/25/03
$1.7500 $1.8800
Recombinate | 220—400U | 009442138013 | 06/21/01 07/19/98 09/07/97
$1.6250 $1.2800 $1.2400
Recombinate | 401—800U_ | 009442138026 | 06/21/01 07/19/98 09/07/97
$1.6250 $1.2800 $1.2400
Recombinate | 801 — 1240U | 009442138031 | 06/21/01 07/19/98 09/07/97
$1.6250 $1.2800 $1.2400
Bebulin 200 —1200U | 641930244027 | 01/15/05 11/16/01
$0.9000 $0.7250
Feiba 400-650U 64193022034 | 01/17/05
$1.9100
Feiba 650-1200U | 64193022046 | 01/17/05
$1.9100
Hemofil-M 200 —1500U | 00944293501 | 06/26/01 09/07/97 01/09/92
$1.2250 $0.9500 $0.9000
Gammagard 0.5 GM 00944262001 ‘| 06/26/01 07/19/98 01/09/96
$81.000 $64.800 $54.9200
Gammagard 10 GM 00944262004 | 06/26/01 07/19/98 10/20/96
$1,192.5000 $870.0000 | $737.0000
Gammagard 2.5 GM 00944262002 | 06/26/01 07/19/98 10/20/96
$298.1250 $217.5000 | $184.2500
Gammagard 5 GM 00944262003 | 06/26/01 07/19/98 10/20/06
$596.2500 $435.000 | $368.5000
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complaint draft 4.2.wpd

UNITED STATES DISTRICT COURT

DISTRICT OF ***

United States of America ex rel
Linnette Sun and Greg Hamilton,
Relators,

State of Arkansas ex rel Linnette Sun
and Greg Hamilton, Relators,

State of California ex rel Linnette Sun
and Greg Hamilton, Relators,

State of Delaware ex rel Linnette Sun
and Greg Hamilton, Relators,

District of Columbia ex rel Linnette
Sun and Greg Hamilton, Relators,

State of Florida ex rel Linnette Sun and
Greg Hamilton, Relators,

State of Hawaii ex rel Linnette Sun and
Greg Hamilton, Relators,

State of [llinois ex rel Linnette Sun and
Greg Hamilton, Relators,

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Case No.

§ COMPLAINT FOR DAMAGES
§ UNDER THE FEDERAL

§ FALSE CLAIMS ACT and

§ VARIOUS STATE FALSE

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CLAIMS ACTS

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State of Louisiana ex rel Linnette Sun
and Greg Hamilton, Relators,

State of Massachusetts ex re] Linnette
Sun, and Greg Hamilton, Relators

State of New Mexico ex rel J.innette
Sun and Greg Hamilton, Relators,

State of Nevada ex rel Linnette Sun and
Greg Hamilton, Relators,

State of Tennessee ex rel Linnette Sun
and Greg Hamilton, Relators,

State of Texas cx rel Linnette Sun and
Greg Hamilton, Relators,

State of Utah ex rel Linnette Sun and
Greg Hamilton, Relators,

State of Virginia ex rel Linnette Sun
and Greg Hamilton, Relators,

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Baxter International, Inc. /?/ and
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Defendants

COMES NOW THE RELATORS, Linnette SUN and Greg HAMILTON,
WILO ALLEGES AS FOLLOWS:

Relators, Linnette Sun and Greg Hamilton, bring this action under the False
Claims Act, as amended, 31 U.S.C. §3729 et. seq., as well as various state statutes,
alleges as follows:

INTRODUCTION

1, This is a gui fam action brought by Linnette Sun and Greg Hamilton
on
behalf of the United States and various States to recover penalties and damages
arising from fraudulent and ilegal practices of Baxter [lemogiobin Therapeutics, a
division of Defendant Baxter International, Inc. (hereinafter “Baxter”). Baxter

makes a variety of specialized pharmaceutical, hematological, and infusion

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complaint draft 4.2.wpd

products, known in the industry as “biologics.” Government programs reimburse
providers who purchase these products based upon the published or posted
Average Wholesale Price (“AWP”). Manufacturers, such as Baxter, are to report
an accurate Wholesale Acquisition Costs (“WAC”) to the database that calculates
and publishes the AWPs based upon the reported WAC, First DataBank, Inc.
(“First DataBank”),

2. It is known throughout the industry and known to Baxter that First
DataBank calculates the
AWP for biologics as: AWP =WAC x 1.25. Since Baxter was aware of this mark-
up, Baxter controlled the published AWP by misreporting the WAC. Baxter f
refused to report an accurate WAC, or the cost charged to the wholesalers that
distribute the bulk of Baxter’s products at issue here, the non-charge back
wholesaler. Instead, Baxter reported a “list sales price” whitch bore no relationship
to the price charged in the marketplace to the actual wholesalers, but which was an
inflated price charged to very few customers that distributed less than one percent
of these products..

3. Baxter thus manipulated the AWP, knowing that health care providers

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who were bemg reimbursed based on AWP were indifferent to the cost of
purchasing the drug, but instead focused on the “spread”-—as it is known in the
industry---between the cost and the AWP-based reimbursement. Because Baxter’s
spread was larger than competitors, its products were more attractive to these
customers, and it could maximize its revenue,

4, States rely upon First DataBank’s published AWP to reimburse
providers, and assume that the published AWP is a reasonable indicator of the
price paid for the drug. However, because Baxter falsely reported WAC to inflate
the AWP and the spread, Baxter deceived the government, and government
overpaid for the biologics at issue here.

THE PARTIES

5, Relator Linnette Sun ts a citizen of the United States and a resident of
the State of California. She was employed by Baxter as Director of Medical
Outcomes Research and Economics, and as such was a pricing specialist there for
more than a year, June 24, 2002 -- July 22, 2003. She has been a pricing and
reimbursement specialist for ten years, working for Merck, Johnson & Johnson, &

Amgen. After telling her superiors and others at Baxter that she strongly opposed

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Baxter’s practices and thought them to be fraudulent, she was fired,
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6. Relator Greg Hamilton is currently Vice President of the Bieeding
Disorders Program for CuraScript, a Division of Express Scripts, Inc. He has over
30 years experience working in the pharmaccutical industry, including 13 years
with Bayer. He is known as a pricing and reimbursement specialist and had
advised pharmaceutical companies on the pricing of products, including
biologics. Ie ts aware of the pricing structure Baxter used, specifically, the
correspondence between Baxter and First DataBank regarding Baxter’s reporting
of the improper WAC. Mr. Hamilton has an MBA from Illinois Institute of
Technology.

7. Defendant Baxter International, Inc., Baxter Hemoglobin

‘Therapeutics

has tts offices at 2545 Central Av., Suite FDI, in Boulder, Colorado and at One
Baxter Parkway in Deerfield, Ulimois. It is a division of Baxter International, Inc.,
a Delaware corporation, which is a global pharmaceutical company doing business

in this judicial district with its principal executive offices at One Baxter Parkway

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in Deerfield, [linois.

JURISDICTION AND VENUE

8. This is a civil action arising under the laws of the United States, and
specifically, 31 U.S.C. §3730, the “False Claims Act.” Therefore, this Court has

jurisdiction over this action pursuant to 31 U.S.C, §3732 (a) and (b).

Supplemental jurisdiction for Counts WH] XVIII* arises under 28 U.S.C.
§$1367, since these claims are so related to the federal claims that they form pari

of the same case or controversy under Article Il] of the U.S. Constitution.
9. Venue is proper in this district pursuant to 31 U.S.C, §3732 (a)
because Defendant Baxter transacts business in this district.

FEDERAL PROGRAMS HARMED BY DEFENDANTS’

FRAUDULENT AND ILLEGAL PRACTICES

RAILROAD RETIREMENT MEDICARE PROGRAM
10. The Railroad Retirement Medicare program, is authorized by the
Railroad Retirement Act of 1974, 45 U.S.C. §§231 ef seg. lt is administered

through the United States Railroad Retirement Board, “RRB” and furnishes

Medicare coverage to retired railroad employees.
INDIAN HEALTH SERVICE

11. The Indian Health Service is responsible for providing

comprehensive

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health services to more than 1,400,000 Native Americans. It is administered by
the Department of Health and Human Services pursuant to 42 U.S.C. § 2002, e¢
seq. The statute authorizes the Secretary to enter into contracts with independent
providers to furnish health services to Native Americans whenever the Secretary

determines that independent providers can better meet a population’s needs.
FEDERAL EMPLOYEE HEALTH BENEFIT PLANS
12. The Federal Employees Health Benefits Program (FEHBP) is

administered by the Office of Personnel Management (“OPM”) pursuant to 5
U.S.C. §§ 8901, ef seg. and provides health care coverage to federal employees

and their dependents.
TRI-CARE
13. The Tri-Care program, formerly CHAMPUS, is administered by the

United States Department of Defense through its component agency, CHAMPUS,
under the authority of 10 U.S.C. §§ 1071-1106, and provides for care in civilian

facilities for members of the Uniformed Services and their dependents.

VETERAN'S ADMINISTRATION
{4, Pursuant to 38 U.S.C.A. § 8126, and the regulations based thereon,

and contracts the Veteran’s administration had with manufacturers, drugs are

furnished to the Veterans’ Administration ("VA") by drug manufacturers.
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MEDICARE AND MEDICAID

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15, HHS, through its subsidiary entities—first the Health Care Financing
Administration (HCFA) and now the Center for Medicare and Medicaid Services
(CMS)---administers the Medicare program, which is a system of health insurance
for the aged (.e., those over the age of 65 years) and disabled created under Title
XVIL of the Social Security Act, 42 U.S.C. § 1395, et seq. The Medicare program
is comprised of two “Parts.” Part B of the Medicare program authorized payment
for certain drugs when a Medicare beneficiary must either (a) have the drugs
administered in a physician’s office, or (b) use a Medicare-approved mechanical
aid or device (known as durable medical equipment) in order to receive the drugs
at home, To assist in the administration of Medicare Part B, CMS contracts with
Medicare carriers, or insurance companies that provide a variety of services,
including processing and paying Part B claims and auditing cost reports.

16. Through CMS, HHS also administers the Medicatd Program, which

provides health care benefits for certain groups, including the poor and the
disabled, and which 1s funded in part from federa! funds and in part by the State

where the facility is located. 42 U.S.C.A. § 1396 ef seq.

BACKGROUND

17. There are approximately 65,000 different drug products in the United

States market, including different doses of the same drug. Baxter manufactures
and/or distributes (and thus sets the price) for the following drugs and biologics:
Advate, Aralast, Albumin, Bebulin, FeibaH, Gammagard S/D, HemophilM,

Propelex LT and Recombinate. Baxter’s products are dispensed to patients by or

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through different types of medical providers including, inter alia, physicians who
administer drugs in an office, home infusion pharmacies, retail pharmacies, and

other medical providers.
18. States routinely cover out-patient prescription drugs as part of their

Medicaid programs. Most States reimburse providers for those drugs based upon
a percentage of the AWP, usually 85% ofthe AWP. Medicare reimburse
providers who furnish covered drugs to beneficiaries the lower of the billed charge
or 95% of the AWP pursuant to 42 CIR §405.17. Baxter’s biclogics are covered

by Medicaid, Medicare and other government programs,
19. During all times material to this complaint, State Medicaid programs

obtained AWP pricing information directly from First DataBank. First DataBank
is a wholly-owned subsidiary of the Hearst Corporation, which, among other
things, gathers prescription drug information, including pricing and AWP. First
Databank publishes and distributes this information as a database which is
regularly maintained.

20. There are several other pharmaceutical industry compendia that

periodically compile, publish and distribute, in printed and electronic media,
AWPs, These compendia include the Drug Topics Red Book (the “Red Book’),
the Annual Director of Pharmaceuticals and Essential Director of
Pharmaceuticals (the “Blue Book’), and Medi-Span’s Master Drug Database
(MediSpan), However, government reimbursement is based upon AWP published

by First DataBank.

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21, Medicaid, Medicare, and all other systems which base reimbursement

rates for drugs on the published AWP rely upon the accuracy of the AWP, and, in
turn, depend upon the honesty and accuracy of Baxter and other drug
manufacturers in reporting WAC to First DataBank. As noted above, for
biologics, First DataBank posts AWP by multiplying the reported WAC by 1.25,
Manufacturers easily determine First DataBank’s mark up by comparing the
difference between the reported WAC and the published AWP, and are
accordingly aware of what First DataBank’s published AWP will be when they
report WAC to First DataBank,

22. Providers regularly submit claims for reimbursement seeking payment

for Baxter’s products from Medicare, Medicaid, and from other federal payors.
Manufacturers, including Baxter, were and are fully aware that these payors also
rely on First DataBank’s published reports of AWP to determine their

reimbursement.
23, Ali pharmaceutical products except biologics are normally distributed

through charge-back wholesalers. These wholesalers are Bergen Brunswig Drug
Company, McKesson Drug Company, Cardinal Health, AmeriSource Health
Corporation. However, manufacturers’ sales of biologics to charge-back
wholesalers comprise less than 1% of the wholesale market for manufacturers of

these specialized products.
24. Instead, the vast majority of biologics, such as the products

Defendants manufactured, were typically distributed to providers by non-charge

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back wholesalers. These wholesalers include, but are not limited to, Chapin
Medical, FFF Enterprises, CT International, ActSys Medical Inc., Williams
Medical, Davis Enterprises, Paragon Scientific Corp., ASD Specialty Healthcare,
EDP, Inc., Blood Diagnostics Inc., National Specialty Services, Florida Infusion,
National Hospital Specialties, Alpine Biologics, Atlantic Business Organization,
Health Coalition, J-Mark Enterprise, BioCare, BioScience, Western Medical
Services, Davis Enterprises, Biomed Plus, Genesis Bio-Pharmaceuticals, Acysis,
Whitmire Distribution Corp., Adam Diagnostic Laboratories, Alternate Site
Distributors, Besse Medical Supply, Bindley Western, Bio Test, Bryan
Biologicals, Inc., Capital Wholesale Drug, Casad Surgical Pharmacy, Cummumed,
Dakota Drug, Diagnostic Marketing Corp, F D Titus & Sons, Inc., F. Dohmen Co,,
First Choice Medical Inc., General Drug Company, General Inj. & Vaccines, Inc.,
HD Smith Wholesale, Henry Schein Corp., Henry Schein Surgical, Immucor, Inc.,
Int’l Med Supply, JE Gold & Co, Martin Surgical Supply, Medical Blood
Services, Medical Mart Inc, Medsource Corp, Metro Medical Supply Inc., Micro
Bio Medics, Morris and Dickson, Mallen & Haynes, National Hospital Specialties,
NSs, Inc., Onto Valley Clarksburg Inc., Organon Teknika Corp, Parks Inc., PSS,
Quala Med Inc., R Weinstein Pharmaceutica!, Roane Barker, Scientific Supply
Company, Triad Medical Inc., Walsh-Lumpkin, Accord Clinical Labs, Alternate
Site Distributors, Bellegrove Medical Supply, Bensons Surgical Supply Co.,
British Marketing Enterprises, Expert - Med Inc., Gas Medical, General Drug
Company, Grove Way Medical Supply, Health Coalition, Physician Sales &
service, R Medical Supply, Summit Medical Supplies, Total Health Products, A,
J, Buck & Sons Inc., Alternate Site Distributors, C F Anderson Comp, Inc.,

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complaint draft 4.2. wpd

Center Medical Supply, Central Supply, Emjay Medical Supplies Corp, Gamma
Biologicals, Hawkeye Medical Supply, Interstate Blood Bank, Lake Brie Medical
& Surgical, Medical Supply Corp of N.J., Paragon Scientific Corp., Ransdell
Surgical Inc., Savoy Medical Supply Co., Shenandoah Medical Supply, Suncoast
Surgical Supply, Tri State Physicians Supplies, United Medical Supply, Arizona
Blood Services, Bio Care, Bio Med Plus, Blood Center of SE Wisconsin, Health

Coalition, Inc., and Medig Corporation.
25. The true wholesalers which distribute the bulk of the biologics for

Baxter. as well as other manufacturers, are these non-charge back wholesalers.
This has been reported by the Marketing Research Bureau Inc. in its study, The
Plasma Fractions Market in the United States 2007. This study indicates that the
first-tier of the non-charge back wholesalers distribute the overwhelming amount
bulk of biologics, and that the remaining are sold directly to providers such as

home health agencies or home health systems.

DEFENDANTS’ ILLEGAL SCHEMES

26, Baxter has used the following schemes to cause state Medicaid
programs to pay false claims:

WAC Falsification

27. Inthe case of biologics, Baxter employed what is known in the

pharmaceutical industry as “class of trade pricing.” Baxter sold the bulk of its

biologies directly to providers. e.g., home health agencies and home health

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complaint draft 4.2..wpd

systems, Baxter offered the lowest prices to these providers, Baxter offered the
next lowest prices are offered to non-charge back wholesalers. These sales,
varying by product, comprise up to 40% of Baxter’s total sales of the products. At
umes, however, Baxter also offered its lowest prices to the non-charge back
wholesalers to move product. The charge-back wholesalers, to which Baxter
charged the highest prices, comprise less than 1% of Baxter’s sales for the

biologicals.,
28. Although the charge-back

wholesalers purchased less than 1% of the biclogicals, Baxter reported to First
DataBank that the high prices charged to this tiny market segment was its WAC.
Baxter did this with the knowledge that First DataBank, would, in turn, used to use
this information to calculate AWP, which would then be reported to state and
federal health care programs described herein. Since the price charged to less than
1% of its market did not affect sales, Baxter could use it to manipulate the
reimbursement system since the published AWP had no correlation to the price
charged to the wholesaler that distributed nearly all of Baxter’s biologicals.

29. The effect of Baxter’s false reporting was that Baxter illegally
increased the profitability, or spread, of these drugs to health care providers and
pharmacies, thus giving a financial incentive for their selection and use. That is, if
the spread for Baxter’s product is greater than the spread for competing products,
the provider will profit more by using Baxter’s product. The only way to increase
the spread is to either reduce the acquisition cost to the provider, or to inflate the

reported AWP Medicare and Medicaid rely upon. Since lowering the sales price

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to providers would decrease Baxter’s income, Baxter preferred instead to increase
the spread by falsely inflating the AWP. Consequently, since Baxter sells the
biologicals to providers at considerably less than the reported AWP, there is a
substantial spread between what Medicare and Medicaid will pay, and there is an

exorbitant amount of profit the provider can make on the sale of the product.

30. In fact, Baxter knew that the actual amounts charged to the non-
charge
back wholesalers distributors, as well as providers and others for their products,
was not publicly available, because it wsa proprietary pricing information, Baxter
kept this information highly confidential and secret to maximize its ability to

maintain market share by providing the greatest reimbursement spread to these

customers.

31. Baxter increased its revenue not only by gaining more market share
by

beating out competitors with a more attractive spread, but also by generating profit
from increasing its sale price to the providers. So long as the providers made a
profit from purchasing Baxter’s products greater than the profit offered by a
competitor’s spread, they would be willing pay more for the product.

32, Baxter knew it could directly control and fabricate the AWP for their

products by reporting to First DataBank the highest prices charged for the
biologics, those charged to charge-back wholesalers.

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33. For example, Baxter has reported to First DataBank that the WAC for

Recombinate is $1.30 per unit, and First DataBank has accordingly published an
AWP of $1.6250 per unit. Whea a Medicare beneficiary receives a drug which is
covered by Part B of Medicare, Medicare reimburses providers 80% of the
allowable cost, which is 95% of the AWP. Thus, ifthe AWP for a drug is
$1.6250, the allowable cost is 95% of that, or $1.548, and Medicare pays 80% of
that sum, or $1.235. Recombinate has been sold to a provider for $0.89, making
the spread, or the difference between the actual acquisition cost of $0.89 and the
Medicare payment of $1.235, $0.345. ‘This nearly 35-cent per wit spread is pure
profit for the provider. In the case of Medicaid reimbursement, at 85% of AWP,
or $1,381 per unit, the difference between that and the actual acquisition cost of
$0.89 is $0.491. The nearly 50-cent per unit spread is also pure profit for the

provider,
34, Baxter falsely reported WAC by claiming it was reporting a “list sales

price.” Baxter’s Mike Bradley, was Senior Director of National Account
Economics, and was responsible for pricing and reporting Baxter’s pricing to
various databases. In approximately October 2001, Bradley told Relator Linette
Sun that Baxter has repeatedly falsely described its WAC to First DataBank by
reporting a cost described as “list sale price.”, knowing that First Data would
apply a 125% multiplier to estimate AWP. Sun was informed that since this
improved the spread between AWP and the prices actually charged to physicians
or other providers, this allowed Baxter to acquire greater market share. Baxter

management was adamant that it could not hit its sales targets without these

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incentives fo the providers.
35. According to knowledge obtained by Relator Greg Hamilton, First

DataBank refused to accept Baxter’s“list sales price,” and requested the amount
Baxter charges to wholesalers. Baxter had also informed First DataBan‘k the
amounts Baxter wanted First DataBank to publish as the list price and AWP, First
DataBank again told Baxter it had to provide WAC, and that if it continued to
refuse to provide WAC, First DataBank would consider the list price provided as
the WAC. Again, Baxter refused to provide any other number than “‘list sales
price,” and also refused to denote the “list sales price” as WAC,

36. First DataBank then used Baxter’s “list sales price,’ and applied the

1.25 multiplier First DataBank obtained by researching the mark-up wholesalers

applied.
37. Shortly thereafter Ms. Sun reviewed the First DataBank materials and

was surprised to see the greatly inflated AWP. She promptly reported this to Nick.
Poulios who was, at the time, Baxter’s Director of Medical Outcomes Research
and Economics, who encouraged her to bring this up at a meeting that was
scheduled to discuss Baxter’s pricing practices. This meeting was attended by
Bradley, Poulios, as well as Mike Baldridge, Director of Planning, and Jill Kadam,
Director of National Accounts Markeling. Bradley again acknowledged his
awareness of the problem and admitted that this actually became a better financial
arrangement for Baxter since it increased reimbursement rates. Bradley repeated

that Baxter knew this all along, and that this benefitted Baxter. Bradley also tried

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to convince Sun that First Databank was a little used information source.
38. After this meeting Ms. Sun contacted First DataBank directly and

received an email from a sales manager who confirmed that First DataBank reports
were purchased by the United States and by each State’s government, and that the

database was used by over 80% the insurance companies,
39, In approximately October, 2002, Ms. Sun again voiced her concerns

to Nick Poulios, who told her that all Marketing Management had known of this
for years and had no intention of correcting it because, if they got in trouble with

the government, they could blame First Databank.
40, In April, 2003, Ms. Sun and Poulios informed Larry Guihinn, the

President of Baxter BioScience of the inflated AWP and warned that this could get
Baxter in trouble with the government. Guihinn stated that Bradley had told him
that Ms. Sun was researching the reporting problem. Guihinn specifically forbade
Ms. Sun from doing any further research, and specifically forbade Ms.. Sun or

others from contacting First DataBank about this.
41. Inthe Spring of 2003 the Global Marketing group had a pricing

meeting (called a margin analysis meeting) to discuss new drug pricing. Ms. Sun
noticed that the spread was between three and five times greater on Baxter’s
products than it was in the industry in general. At a meeting (called a margin
analysis mecting) convened to discuss the pricing for one of Baxter’s products,
Advate, Ms. Sun warned Poulios, Bradley, and Product Director Regina O’Hara

that the spread was too great, before she was silenced by Poulios. The meeting

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participants were given a written margin analysis writeup so that the participants
could indicate their preferences for how to set the WAC, the AWP, and the spread.
At the end of the meeting the participants were ordered to destroy the margin
analysis report. Guihinn and John Park. Baxter’s Global Produc Director,
commented that Baxter Management would go to jail if the government ever

discovered this material.
42. Jn approximately July 2003, at a meeting with Baxter Human

Resources personnel and Baxter management, to review Ms. Sun’s performance
{called a Talent Review Meeting) Poulios told Sun that Jim Howard, a vice-
president of North American marketing said that Ms. Sun should visit Baxter

customers so that she would understand that sales depended.

43, In July, 2002, Ms. Sun learned of a pricing report for Advate prepared

by Simon Kucher & Partners, an international marketing consulting firm, Kucher
& Partners recommended that to secure market share for Baxter had spent
approximately $750,000 for a marketing study for this new product. In order to
sectire market share Baxter decided to sell Advate for $0.99 per dose, but to report
an AWP of $1.60. Ms. Sun voiced her concern to Nick Poulios, John Park, and
the VP of Global Marketing. When she warned that Baxter could get into trouble

John Park joked that it was all an “innocent” mistake.
44. Based upon internal documents she studied while working at Baxter,

and discussions Ms. Sun had with pricing specialists and senior marketing

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executives, she learned that Baxter has engaged in similar falsification of WAC

with respect to its other pharmaceutical, hematological, and biological products.

Best Price and Stark Violations

45, Baxter had a marketing practice of offering “Volume Committed

Contracts” to institutional health care providers (such as hospitals, nursing homes,

and home health agencies).

46. The Volume Committed Contracts offered such providers discounts
of

between 50 — 90% off of the purchase price, depending upon the amount of market
share the provider could shift in Baxter’s direction. In an April, 2003 meeting to
discuss pricing policy for Advate and Recombinate, Bradley declared that the U.S.
marketing team was not worried about losing market share to competitors because
they had Volume Committed Contracts for most of their products which would be

in force for the next three years.
47. Baxter’s policy was to be extremely secretive about these contracts

because of their illegal nature. When Ms. Sun questioned Bradley about the
legality of the Volume Committed Contracts, Bradley replicd that Baxter's legal
department would clean up the contracts’ language, but that the use of the
inducements contained in these contracts to control market share would continue
unabated. Ms. Sun had the opportunity to see only one such contract, which was
passed from hand to hand at a pricing meeting in April 2003, The contract was

read by Relator, Poulios, and John Park (Defendant’s Global Products Director).

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Bradley then demanded the contract back. Neither Ms. Sun nor any of the other

executives were permitted to keep a copy of this contract.
48. Ms. Sun is informed and believes and based thereon alleges that the

discounts offered under the Volume Committed Contracts violated 42 U.S. $1396r
-8 (c) because Baxter failed to offer prices to providers which were lower than the
prices offered to the federal programs.

49. The discounts Baxter offered to institutional providers under the

Volume Committed Contracts also violated Stark II, 42 US. §139Snn which
prohibits compensation arrangements such as Volume Committed Contracts
between entities such as Baxter, which furnishes goods or services, and heaith care
providers, which ate in a position to order or refer patients for the receipt of such

goods or services.

Baxter Knew [t’s Conduct Was Illegal

50. Before she was silenced by her superior, Ms. Sun made clear to

Baxter

executives Poulios, Bradicy, O’Hara, Guihinn and others that Baxter should not
use the spread as the incentive for selling its products. the spread was too great,
that the prices reported upon which AWP was calculated should be reduced, and

that the discounts offered by the Volume Committed Contracts were illegal.
51. Larry Guihinn, Baxter BioScience’s President evidenced his clear
understanding of the legal ramifications of the misconduct alleged herein. Ata

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meeting to discuss the pricing of Advate in the late spring or early summer of
2003, Guihinn warned that Baxter would get in trouble if the government were
ever to see the margin analysis memo analyzing Baxter’s pricing for all of its
pharmaceutical, hematological, and biological products. Park promised Guihinn
that the memorandum would not be attached to any emails, and that hard copies of
the memorandum would be destroyed. This meeting was attended by Michael
Baldrige, Baxter’s Director of Planning, Bradley, Guihinn, Park , Poulios, and Ms.

Sun, among others,

52. In July 2003, after the Advate Pricing Meeting, Ms. Sun gave the
Park

team extensive written materials on the government’s prosecution of ‘TAP P for
falsification of Lupron’s AWP, and the $355 million alse Claims Act settlement
paid by AstraZeneca for Lupron’s competing product, Zoladex, Guihinn told Ms.
Sun point blank, that “your job is to keep me out of jail.” When Poulios reported
this to Park, Mike Baldridge, and Karen Chung (Associate Director of Medical
Outcomes Research & Economics), Park, Baldridge, and Chung joked thal they

would not go to jail because they were ignorant of these practices.
COUNT EI
SUBMISSION OF FALSE FEDERAL FALSE CLAIMS
53. Relators repeat and reallege each allegation contained in paragraphs |
through 52 above as if fully set forth herein.

54. This is a gui tam civil action brought by Linnette Sun, Greg Hamilton

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and the government of the United States to recover treble damages and civil
penalties under 31 U.S.C. §3729{a) of the False Claims Act.

55. Baxter violated 31 U.S.C, §3729{a) by conspiring, to present and by

causing false claims to be present, used and then presented to the United States

Government in connection with its fraudulent and illegal practices.
56. The United States Government, by and through CMS, DHHS, RRB,
OPM, CIIAMPUS, and the VA, and possible other Federal agencies, and unaware

of Baxter's fraudulent and illegal practices, paid the claims submitted by health

care providers and third party payers in connection therewith.
57. Had the United States Government known that Baxter was violating

federal laws, it would not have paid the claims submitted by health care providers

and third party payers in connection with Baxter's fraudulent and illegal practices.
58. Asaresult of Baxter’s violations of 31 U.S.C. §3729(a), the Onited

States Government has been damaged tn an amount in the millions of dollars,

exclusive of interest.
59. Relators Sun and Hamilton are private persons with direct and

independent knowledge of the allegations of this Complaint, who have brought
this action pursuant to §3730(b) on behalf of themselves and the United States

Government,
COUNT II

STARK ACT, BEST PRICE VIOLATIONS OF FALSE CLAIMS ACT

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60. Relators repeat and reallege each allegation contained in paragraphs
lthrough ss above as if fully set forth herein.
61. This is a gui tam civil action brought by Linnette Sun, Greg Hamilton

and the government of the United States to recover treble damages and civil

penalties under 31 U.S.C. §3729(a) of the False Claims Act.

62. Baxter violated 31 U.S.C, §3729(a) by conspiring, to present and by
causing false claims to be present, used and then presented to the United States
Government in connection with its fraudulent and illegal practices.

63. The Stark Act I], 42 U.S.C.. $1395nn (a)(1), a civil penalty provision,
provides that if a Physician has a financial relationship with an entity,

(A) the physician may not make a referral to the
entity for the furnishing of designated health
services for which payment otherwise may be
made under this su chapter, and

the entity may not present or cause to be presented
a claim under this subchapter or bill to any _
individual, third party payor, or other entity for
designated health services furnished pursuant to a
referral prohibited under subparagraph (A).

U.S.C.A. §1395nn(a)(L).

[HOW DO WE WORK IN VOLUME COMMITTED CONTRACTS AS A
KICKBACK?]

64, The term “financial relationship” under the Stark Act Includes

compensation arrangements between a physician and an entity, See 42 ULS.C.A.

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§1395nn (a)(2\(B).
65. The term “designated health services” under the Stark Act includes

clinical laboratory services, outpatient prescription drugs, and inpatient and

outpatient hospital services. See 42 U.S,.C.A. §1395nn (h)(6).
66. Baxter violated 42 U.S.C.A. §1395nn(a) when it knowingly and

willfully entered into arrangements in which providers were offered discounts
based on their ability to move market share within their institutions, pursuant to

Volume Committed Contracts.

67. Although “safe harbor” regulations exist to protect certain relatively
innocuous and even beneficial commercial arrangements, no such provision
protects the discounts made by Baxter pursuant to its fraudulent schemes. The
discounts by Baxter in this case were made for the sole purpose of increasing
Baxter’s profits at the expense of patients, it’s competitors, and the federal and
state governments. The discounts made by Baxter were even strategically based
on the impact of choosing particular physicians and hospitals over others (in terms
of the effect on Baxter’s market sharc) and were conditioned on the volume and
value of referrals made by participating physicians and hospitals. {??/

68. 38 U.S.C.A. § 8126, and the regulations based thereon, and contracts
stoned with Baxter by the federal programs listed herein below require that when drug
manufacturers furnish their prescription products to Federal agencies, such as the
Veterans’ Administration, Public Health Service, including the Indian Health Service,

and the Department of Defense, they must furnish them at the "best price."

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69. Inengaging in the fraudulent and illegal practices cited herein, including

but not limited to the false reporting of WAC, /??] and the “Volume Committed
Contracts,” Baxter knowingly failed and refused to furnish its products to the Federal
agencies at the best price, in violation of 38 U.S.C.A. § 8126, as these same discounts

and rebales were nol passed on to the Federal agencies.

70. Compliance with applicable Medicare, Medicaid, best pricing
requirements, and various other federal and state laws was an implied, and upon
information and belief, also an express condition of payment of claims submitted to

the United States Government by health care providers and third party payers in

connection with Baxter’s fraudulent and illegal practices.
71. Had the United States Government known that Baxter was violating

federal laws, including the Anti-Kickback provisions, the Stark Act, and the best
pricing requirements, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal
practices.

72, Asaresult of Baxter’s violations of 31 U.S.C. §3729(a), the United

states Government has been damaged in an amount in the millions of dollars,

exclusive of interest.
73. Relators Sun and Hamilton are private persons with direct and

independent knowledge of the allegations of this Complaint, who have brought this

action pursuant to §3730(b) on behalf of themselves and the United States

Government. As a result of Baxter’s violations of 3! U.S.C. §3729(a), the United

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States Government has been damaged in an amount in the millions of dollars,

exclusive of interest.
COUNT TU
RETALIATION IN VIOLATION OF 31 U.S.C. §3730(b)
74. Relator Linnette Sun repeats and repleads and incorporate by reference

herein each and every one of the allegations contained in paragraphs 1-52_,

inclusive, as though fully set forth herein.
75. Ms. Sun was retaliated against and fired from her employment at

Baxter in direct retaliation for her efforts to investigate the false claims described
hereinabove, her efforts to develop information which would be used in the
prosecution of a false claims action, and her resistance to the submission of false
claims. Defendant sued herein carried out these acts in violation of 31 U.S.C.

§3730(h).
76. As adirect, foreseeable, and legal result of said wrongful acts by

Defendant, Ms. Sun has suffered and will continue to suffer substantial losses in
earnings and other employment benefits, along with other incidental and

consequential damages and losses, all in an amount to be proven at time of trial.
77. Asa further direct, foresceabie, and legal result of said wrongful acts

of Defendant sued herein, Ms. Sun has suffered and will continuc to suffer mental

pain and anguish, all other damage in an amount to be proven at time of trial.

78. Asa further direct, foresecable, and legal result of said wrongful acts

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by said Defendant, Ms. Sun has incurred attorneys’ fees and other consequential
damages in an amount to be determined, for which Ms. Sun claims a sum to be

established according to proof.
COUNT TH
STARK ACT, BEST PRICE VIOLATIONS OF FALSE CLAIMS ACT

Relators repeat and reallege each allegation contained in paragraphs lthrough

___ above as if fully set forth herein.

This is a qui tam civil action brought by Linnette Sun, Greg Hamiltonand the

government of the United States to recover treble damages and civil penalties under
31 U.S.C. §3729(a) of the False Claims Act.

Baxter violated 31 U.S.C. 93729{a) by conspiring, to present and bycausing
false claims to be present, used and then presented to the United States Government

in connection with its fraudulent and illegal practices.

The Stark Act IL, 42 U.S.C.. §1395nn (a1), a civil penalty provision, provides that
if a Physician has a financial relationship with an entity, (A) the physician may not
male a referral to the entity for the furnishing of designated health services for which

payment otherwise may be made under this subchapter, and

the entity may not present or cause to be presented a claim under
this subchapter or bul to any individual, third party payor, or
other entity for designated health services furnished pursuant to

a referral prohibited under subparagraph (A).

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ULS.C_A. §1395nn(a}(1).

[HOW DO WE WORK IN VOLUME COMMITTED CONTRACTS AS A
KICKBACK? }

The term “financial relationship” under the Stark Act includescompensation
arrangements between a physician and an entity. See 42 U.S.C.A. §1395nn(ay(2)(B).
The term “designated health services’ under the Stark Act
includesclinical laboratory services, outpatient prescription drugs, and inpatient and

outpatient hospital services, See 42 U.S.C.A. §1395nn (h)}(6).

Baxter violated 42 U.S.C.A. §1395nn(a) when it knowingly andwillfully

entered into arrangements in which **

Although “safe harbor” regulations exist to protect certain relativelyinnocuous
and even beneficial commercial arrangements, no such provision protects the
discounts made by Baxter pursuant to its fraudulent schemes. ‘The discounts by
Baxter in this case were made for the sole purpose of increasing Baxter’s profits at
the expense of patients, it’s competitors, and the federal and state governments. The
discounts made by Baxter were even strategically based on the impact of choosing
particular physicians and hospitals over others (in terms of the effect on Baxter’s
market share) and were conditioned on the volume and value of referrals made by

participating physicians and hospitals. [77]

38 US.C.A, § 8126, and the regulations based thereon, and contractssigned

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with Baxter by the federal programs listed herein below require that when drug
manufacturers furnish their prescription products to Federal agencies, such as the
Veterans’ Administration, Public Health Service, including the Indian Health Service,

and the Department of Defense, they must furnish them at the “best price.”

In engaging in the fraudulent and illegal practices cited herein, includingbut
not limited to the false reporting of WAC, [??] and the “Volume Committed
Contracts,” Baxter knowingly failed and refused to furnish its products to the
Federalagencies at the best price, in violation of 38 U.S.C.A. § 8126, as these same

discounts and rebates were not passed on to the Federal agencies.

Compliance with applicable Medicare, Medicaid, best pricingrequirements, and
various other federal and state laws was an implied, and wpon information and belief,
also an express condition of payment of claims submitted to the United States
Government by health care providers and third party payers in connection with
Baxter’s fraudulent and illegal practices.

Had the United States Government known that Baxter was violatingfederal
laws, including the Anti-Kickback provisions, the Stark Act, and the best pricing
requirements, ii would not have paid the claims submitted by health care providers
and third party payers in connection with Raxter’s fraudulent and illegal practices.

As a result of Baxter’s violations of 31 U.S.C. $3729(a), the UnitedStates
Government has been damaged tn an amount in the millions of dollars, exclusive of
interest,

Relators Sun and Hamilton are private persons with direct andindependent

knowledge of the allegations of this Complaint, who have brought this action

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pursuant to §3730(b) on behalf of themselves and the United States Government. As
a result of Baxter’s violations of 31 U.S.C. §3729(a), the United States Government

has been damaged in an amount in the millions of dollars, exclusive of interest.

COUNT VII
MASSACHUSETTS FALSE CLAIMS ACT

79. Relators repeat and reallege each allegation contained in paragraphs 1

through 55 above as if fully set forth herein.

80. This is a gut dam action brought by Linnette Sun, Greg Hamilton and
the State of Massachusetts for treble damages and penalties under
Massachusetts False Claims Act, Mass. Gen. Laws Ann. 12 § 5(A) ef
Seq.

81. Mass. Gen. Laws Ann. !2 § 5B provides liability for any person who(1)
knowingly presents, or causes to be presented, a false or fraudulent

claim for payment or approval;

(2) knowingly makes, uses, or causes to be made or used,
a false record or statement to obtain payment or approval
of a claim by the commonwealth or any political

subdivision thereof;

(3) conspires to delraud the commonwealth or any political
subdivision thereof through the allowance or payment of a

fraudulent claim;

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82.

83.

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(9) is a beneficiary of an inadvertent submission of a false

claim to the common wealth or political subdivision

thereof, subsequently discovers the falsity of the claim, and

fails to disclose the false claim to the commonwealth or

political subdivision within a reasonable time alter

discovery of the false claim.

Baxter violated Mass. Gen. Laws Ann. 12 § 5B and knowingly caused
hundreds of thousands of false claims to be made, used and presented to
the State of Massachuselts from at least 1998 to the present by its

reporting of false pricing statements regarding its products.

The State of Massachusetts, by and through the Massachusetts Medicaid

program and other state health care programs, and unaware of Baxter’s fraudulent and

illegal practices, paid the claims submitted by health care providers and third party

payers in connection therewith.

84.

85.

Honest reporting of WAC data and provision of the best price to
Medicaid was an implied, and upon information and belief, also an
express condition of payment of claims submitted to the State of

Massachusetis.

Jlad ihe State of Massachusetts known that Baxter was violating the
federal and state laws cited herein, it would not have paid the claims
submitted by health care providers and third party payers in connection

with Baxter’s fraudulent and illegal practices.

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86.

87.

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As aresult of Baxter’s violations of Mass. Gen, Laws Ann. 12 § 5B, the
State of Massachusetts has been damaged in an amount to be
determined, exclusive of interest.

Relators Sun and Hamilton are a private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to Mass. Gen. Laws Ann. 12 § 5(c}(2) on

behalf of himself and the State of Massachusetts.

COUNT VIII

VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT

a.

Relators repeat and reallege each allegation contained in paragraphs |

through 55 above as if fully set forth herein.

b,

This is a gui tom action brought by Linnette Sun, Greg Hamilton and the
State of California to recover treble damages and civil penalties under

the California False Claims Act, Cal. Gov’t. Code § 12650 et seq.
Cal. Gov’t Code § 12651 (a) provides liability for any person who-

(1) knowingly presents, or causes to be presented, to an
officer or employee of the state or of any political division
thereof, a false claim for payment or approval;

\2) knowingly makes, uses, or causes to be made or used a
alse record or staternent to get a false claim paid or
approved by the state or by any political subdivision;

G) conspires to defraud the state or any political
subdivision by getting a false claim allowed or paid by the
state or by any political subdivision.

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(8) is a beneficiary of an inadvertent submission of a false
claim to the state or a political subdivision, subsequently
discovers the falsity of the claim, and fails to disclose the
false claim to the state or the political subdivision within a
reasonable time after discovery of the false claim.

c. Baxter violated California laws by knowingly allowing tens of
thousands of false
claims to be submitted and presented to the State of California from at least 1998 to
the present by its reporting of false pricing statements regarding its products,
f The State of California, by and through the California Medicaid program

and

other state health care programs, and unaware of Baxter’s fraudulent and illegal
practices, paid the claims submitted by health care providers and third party payers
in connection therewith.
g. Ilonest reporting of WAC data and provision of the best price to Medi-
Cal was an
implied, and upon information and belief, also an express condition of payment of
claims submilted to the State of California in connection with Baxter’s fraudulent and
illegal practices,
h. Had the State of California known that Baxter was violating the federal
and state
laws cited herein, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal

practices.

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i. As a result of Baxter’s violations of Cal. Gov’t Code §12651{a), the
State of

California has been damaged in an amount to be determined exclusive of interest.

j. Relators Sun and Hamilton are persons with direct and independent
knowledge of the allegations of this Complaint, who have brought this
action pursuant to Cal, Gov’t Code § 12652(c) on ochalf of himself and
the State of California.

k, This Court is requested to accept pendant jurisdiction over this related
state claim as it is predicated upon the same cxact facts as the federal
claim, and merely asserts separate damages to the State of California in

the operation of its Medicaid program.
COUNT VI
FOR RETALIATORY DISCHARGE
IN VIOLATION OF CALIFORNIA PUBLIC POLICY
I. Relator Ms. Sun repeats and repleads and incorporate by reference
herein each and every one of the allegations contained in paragraphs 1-
55, inclusive, of the first, and second, causes of action, as though fully

set forth herein.

m. The public policy of California clearly mandates reporting suspected
fraud and abuse in connection with the receipt and administration of
government health care moneys, as evidenced by California

Government Code §12650 et. seq. The state’s public policies It also

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prohibit defendants sued herein from offering financial inducements to
physicians in general (California Business & Professions Code §650,01)
n, Defendant sued herein fired Ms. Sun for her opposition to their illegal
activities. Baxter’s wrongful discharge of Sun was in retaliation for her
refusal to destroy evidence, and her efforts to halt the defendant’s
wrongful conduct that violated California law and public policy, as set

forth above, and her termination was willful and wanton misconduct.

o. As a direct and proximate result of Baxter’s willful and wanton
misconduct, Sun is entitled to recover her lost wages, compensatory -
damages and punitive damages from Baxter Laboratories.

VIOLATION OF THE CALIFORNIA GOVERNMENT CODE

88. Relator Linette Sun repeats and realleges each allegation contained in
paragraphs | through _saabove as if fully set forth herein, /??/

89, ADD IN ALLEGATIONS RE DISCRIMINATION...

90. The conduct alleged hereinabove constitutes unlawful discrimination
under California Government Code §12940(? ?~DEPENDS ON TYPE
OF DISCRIMINATION) et. seq.,

91. Asa direct legal result of the actions of defendants, and each of them,
Relator Linette Sun has suffered wage loss, job loss, impairment of
earning capacity, emotional distress, and other damage in an amount to

be proved.

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COUNT VIIE

HAWAII FALSE CLAIMS ACT

92. Relators repeat and reallege each allegation contained tn paragraphs 1

through
55 above as if fully set forth herein.

93. ‘This is a gui tam action brought by Linnette Sun, Greg Hamilton and the
State of Hawaii to recover treble damages and civil penalties under the
Hawaii Faise Claims Act, Haw. Rev. Stat. § 661-21 ef seq.

94. Haw. Rev. Stat. § 661-21(a) provides liability for any person who-

(1) knowingly presents, or causes to be presented, to an
officer or employee of the state a false or fraudulent claim
for payment or approval;

(2) knowingly makes, uses, or causes to be made or used,
a false record or statement to get a false or fraudulent claim
paid or approved by the state;

(3) conspires to defraud the state by getting a false or
fraudulent claim allowed or paid; or

(8) is a beneficiary of an inadvertent submission of a false
claim to the State, who subsequently discovers the falsity
of the claim, and fails to disclose the false claim to the
State within a reasonable time after discovery of the false
claim.
95, Baxter violated Haw. Rev. Stat. $661-21(a) and knowingly caused tens
of

thousands of false claims to be made, used and presented to the State of Hawaii from

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at least 1998 to the present by its violation of federal and state laws.
96. The State of Hawaii, by and through the Hawaii Medicaid program and
other state
health care programs, and unaware of Baxter’s fraudulent and illegal practices, paid
the claims submitted by health care providers and third party payers in connection

therewith.

97, Compliance with applicable Medicare, Medicaid and the vartous other

federal and

State laws cited herein was an implied, and upon information and belief, also an
express condition of payment of claims submitted to the State of Hawaii in

connection with Baxter’s fraudulent and illegal practices,
gal p

98.  Hadthe State of Hawaii known that Baxter was violating the federal and

state

laws cited herein, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal

practices,

99. As a result of Baxter’s violations of Haw. Rev. Stat. § 661-21 (a) the
State of

Hawaii has been damaged in an amount to be determined exclusive of interest.

100. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who has

brought this action pursuant to Haw. Rev. Stat. § 661-25(a) on behalf of

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himself and the State of Hawaii.

101. This Court is requested to accept pendant jurisdiction of this related

state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Hawaii in the operation of its Medicaid program.

COUNT Vil

ILLINOIS WHISTLEBLOWER REWARD AND PROTECTION ACT

102, Relators repeat and reallege each allegation contained in paragraphs |]

through
55 above as if fully set forth herein.
103. Thisis a gui fam action brought by Linnette Sun, Greg Hamilton and the
State of Hlinois to recover treble damages and civil penalties under the
Ilinois Whistleblower Reward and Protection Act, 740 ILCS 175 et seq.
104. 740 ILCS 175/3(a) provides liability for any person who-

(1). knowingly presents, or causes {o be presented, to an
officer or employee of the State or a member of the Guard
a false or fraudulent claim for payment or approval;

(2) knowingly makes, uses, or causes to be made or used,
a false record or statement to get a false or fraudulent claim
paid or approved by the State;

(3) conspires to defraud the State by getting a false or

Traudulent claim allowed or paid.

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105, Baxter violated 740 ILCS 175/3(a) and knowingly caused tens of

thousands of

false claims to be made, used and presented to the State of Mhnois from at least 1998
to the present by its violation of federal and state law as described herein.
106. The State of Illinois, by and through the Illinois Medicaid program and
other state
health care programs, and unaware of Baxter’s fraudulent and illegal practices, paid
the claims submitted by health care providers and third party payers in connection
therewith.
107. Compliance with applicable Medicare, Medicaid and various other
federal and
state laws was an implied, and upon information and belief, also an express condition
of payment of claims submitted to the State of Illinois in connection with Baxter’s
fraudulent and illegal practices.
108. Had the State of Hlinois known that Baxter was violating the federal and
state
laws cited herein, it would not have paid the claims submitted by health care

providers and third party payers in connection with Baxter’s fraudulent and illegal

practices.

109. As a result of Baxter’s violations of 740 ILCS 175/3(a), the State of

Hinois has

been damaged in an amount to be determined exclusive of interest.

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110. Sun and Hamilton are private persons with direct and independent
knowledge of the allegations of this Complaint, who have brought this
action pursuant to 740 ILCS 175/3(b) on behaif of himself and the State

of illinois,

1ti. This Court is requested to accept pendant jurisdiction of this related

state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the Siate of Illinois in the operation of its Medicaid program.

COUNT VII

FLORIDA FALSE CLAIMS ACT

112, Relators repeat and reallege cach allegation contained in paragraphs |

through
55 above as if fully set forth herein,

113. This is a qui tam action brought by Linnette Sun, Greg Hamilton and the
State of Florida to recover treble damages and civil penalties under the
Florida False Claims Act, Fla. Stat. § 68.081 et seq.

114, Fla. Stat. § 68.082(2) provides lability for any person who-

(a) knowingly presents, or causes to be presented, to an

officer. or employee of an agency a false or fraudulent
claim for payment or approval;

(b) knowingly makes, uses, or causes to be made or used,
a false record or statement to get a false or fraudulent claim
paid or approved by an agency;

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() conspires to submit a false claim to an agency or to
eceive an agency for the purpose of getting a false or
fraudulent claim allowed or paid.

115. Baxter violated Fla. Stat. § 68.082(2) and knowingly caused tens of

thousands of
false claims to be made, used and presented to the State of Florida from at least 1998
to the present by its violation of federal and state laws.

116. The State of Florida, by and through the Florida Medicaid program and

other state

healthcare programs, and unaware of Baxter’s fraudulent and illegal practices, paid
the claims submitted by health care providers and third party payers in connection

therewith,

117. Compliance with applicable Medicare, Medicaid and various other

federal and

state laws was an implied, and upon information and belief, also an express condition
of payment of claims submitted to the State of Florida in connection with Baxter’s

fraudulent and illegal practices.

118. Had the State of Florida known that Baxter was violating the federal and
state
laws cited herein, it would not have paid the claims submitted by health care

providers and third party payers in connection with Baxter’s fraudulent and illegal

practices.

119. Asa result of Baxter’s violations of Fla. Stat. § 68.082(2), the State of

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Florida has
been damaged in an amount to be determined exclusive of interest.

120. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to Fla. Stat. § 68.083(2) on behalf of

himself and the State of Florida,

121. This Court is requested to accept pendant jurisdiction of this related

state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Florida in the operation of its Medicaid program.
COUNT IX
TEXAS FALSE CLAIMS ACT

122. Relators repeat and reallege each allegation contained in paragraphs |

through
55 above as if fully set forth herein.
123. This isa qui fam action brought by Linnette Sun, Greg Hamilton and the

State of Texas to recover double damages and civil penaities under

V.T.C.A. Hum. Res. Code § 36.001 ef seg.

124. V.T.C.A. Hum. Res. Code 3 36.002 provides liability for any person

who-

(1) knowingly or intentionally makes or causes to be made
a false statement or misrepresentation of a material fact:

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(a) on an application for a contract, benefit, or
payment under the Medicaid program; or

(b) that is intended to be used to determine its
eligibility for a benefit or payment under the
Medicaid program.

@) knowingly or intentionally concealing or failing to
isclose an event:

(a) that the person knows affects the initial or
continued right to a benefit or payment under
the Medicaid program of:

@) the person; or

ct!) another person on whose
behalfthe person has applied for
a benefit or payment or is
receiving a benefit or payment;
an

(b) to permit a person to receive a benefit or
payment that is not authorized or that is
greater than the payment or benefit that 1s
authorized;
(4) knowingly or intentionally makes, causes to be made,
induces, or seeks to induce the making ofa false statement

or misrepresentation of material fact concerning:

(b) information required to be provided by a

federal or state law, rule, regulation, or
rovider agreement pertaining to the
edicaid program;

Baxter violated V.T.C.A. Hum, Res. Code § 36.002 and knowingly

caused tens of
Ad

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thousands of false claims to be made, used and presented to the State of Texas from
at least 1998 to the present by its violation of federal and state laws, as described
herein.

126. The State of Texas, by and through the Texas Medicaid program and

other state

health care programs, and unaware of Baxter’s fraudulent and illegal practices, paid
the claims submitted by health care providers and third party payers in connection

therewith.

127. Compliance with applicable Medicare, Medicaid and the various other

federal and

state laws cited herein was an implied, and upon information and beltef, also an
express condition of payment of claims submitted to the State of Texas in connection

with Baxter’s fraudulent and illegal practices.

128. Had the State of Texas known that Baxter was violating the federal and

state laws

ciled herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Baxter’s fraudulent and illegal practices.

129. Asaresult of Baxter’s violations of V.T.C.A, Hum. Res. Code § 36.002,
the State

of Texas has been damaged in an amount to be determined exclusive of interest.

130. Relators Sun and Hamilton are private persons with direct and

independent knowledge of the allegations of this Complaint, who have

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brought this action pursuant to V.T.C.A. Hum. Res. Code § 36.101 on
behalf of himself and the State of Texas.

131. This Court is requested to accept pendant jurisdiction of this related
state claim as
it is predicated upon the exact same facts as the federal claim, and merely asserts
separate damage to the State of Texas in the operation of its Medicaid program.
COUNT X
TENNESSEE FALSE CLAIMS ACT

132. Relators repeat and reallege each allegation contained in paragraphs |

through
55 above as if fully set forth herein.

133. This is a gui fam action brought by Linnette Sun, Greg Hamilton and the
State of Tennessee to recover treble damages and civil penalties under
the Tennessee Medicaid False Claims Act, Tenn. Code Ann. 99 71-5-
I8l et seg.

134. § 71-5-182(a)(1) provides lability for any person who-

(A) presents, or causes to be presented to the state, a clain
for payment under the Medicaid program knowing such
claim is false or fraudulent;

(B) makes or uses, or causes to be made or used, a record
or statement to get a false or fraudulent claim under the
Medicaid program paid for or approved by the state
knowing such record or statement is false;

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(C) conspires to defraud the State by getting a claim
allowed or paid under the Medicaid program knowing such
claim is false or fraudulent.

135. Baxter violated Tenn. Code Ann. § 71-5-182(a)(1) and knowingly

caused tens of

thousands of false claims to be made, used and presented to the State of Tennessee
from at least 1998 to the present by its violation of federal and state laws as described

herein.

136. Baxter’s violations of § 71-5-182 and various other federal and state
laws caused
false claims to be submitted for payment to the State of Tennessee.

137. The State of Tennessee, by and through the Tennessee Medicaid
program and

other state health care programs, and unaware of Baxter’s fraudulent and illegal

practices, paid the claims submitted by health care providers and third party payers

in connection therewith,

138. Compliance with applicable Medicare, Medicaid and the various other

federai and

state laws cited herein was an implied, and upon information and belief, also an
express condition of payment of claims submitted to the State of Tennessee in

connection with Baxter’s fraudulent and illegal practices.

139. Had the State of Tennessee known that Baxter violated the federal and

state laws

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cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Baxter’s fraudulent and illegal practices.

140. Asaresult of Baxter’s violations of Tenn. Code Ann. § 71-5-182(a)(1),
the State

of Tennessee has been damaged in an amount to be determined exclusive of interest.

141. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to Tonn. Code Ann. § 71-5-183(a)(1) on
behalf of himself and the State of Tennessee.

142, This Court is requested to accept pendant jurisdiction of this related
state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Tonnessec in the operation of its Medicaid program.
DELAWARE FALSE CLAIMS AND REPORTING ACT
143, Relators repeat and reallege cach allegation contained in paragraphs 1
throughS5
above as if fully set forth herein.
144. This is a gui tam action brought by Linnette Sun, Greg Hamilton and the
State of Delaware to recover treble damages and civil penalties under

the Delaware False Claims and Reporting Act, Title 6, Chapter 12 of the

Delaware Code,

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145. 6 Del. C. § 1201{a) provides liability for any person who-

(1) knowingly presents, or causes to be presented, directly
or indirectly, to an officer or employee of the Government
a false or fraudulent claim for payment or approval;

2} knowingly makes, uses, or causes to be made or used,
irectly or indirectly, a false record or statement to get a
false or fraudulent claim paid or approved; or

(3) conspires to defraud the Government by getting a false
or fraudulent claim allowed or paid.

146. Baxter violated 6 Del. C. § 1201(a) and knowingly caused tens of

thousands of

false claims to be made, used and presented to the State of Delaware from at least

1998 to the present by its violation of federal and state laws, as described herein.

147. The State of Delaware, by and through the Delaware Medicaid program

and other

state health care programs, and unaware of Baxter’s fraudulent and illegal practices,
paid the clairns submitted by health care providers and third party payers in

connection therewith,
148. Compliance with applicable Medicare, Medicaid and the various other
federal and
state laws cited herein was an implied, and upon information and belief, also an

express condition of payment of claims submitted to the State of Delaware in

connection with Baxter’s fraudulent and illegal practices.
149. Had the State of Delaware known that Baxter was violating the federal

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and state

laws cited herein, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal

practices.

150, Asa result of Baxter’s violations of 6 Del. C. § 1201(a}, the State of

Delaware has
been damaged in an amount to be determined exclusive of interest.

151. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to 6 Del. C. § 1203(b) on behalf of himself

and the State of Delaware.
152. This Court is requested to accept pendant jurisdiction of this related

state claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Delaware in the operation of its Medicaid program.
COUNT XU
LOUISIANA MEDICAL ASSISTANCE PROGRAMS INTEGRITY LAW

153. Relators repeat and reallege cach allegation contained in paragraphs |

through
55 above as if fully set forth herein.

154. This is a qui tam action brought by Linnette Sun, Greg Hamilton, and

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155.

156.

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the State of Louisiana to recover treble damages and civil penalties

under the Louisiana Medical Assistance Programs Integrity Law, La.

Rey, Stat. Ann, § 437.1 et seg.
La. Rev. Stat. Ann. § 438.3 provides-

(A) No person shall knowingly present or cause to be
presented a false or Iraudulent claim;

(B) No person shall knowingly engage in misrepresentation
to obtain, or attempt to obtain, payment from medical
assistance program funds;

) No person shall conspire to defraud, or attempt to
lefraud, the medical assistance programs through
misrepresentation or by obtaining, or attempting to obtain,
payment for a false or fraudulent claim;

Baxter violated La. Rev. Stat. Ann. $438.3 and knowingly caused tens

of

thousands of false claims (o be made, used and presented to the State of Louisiana

from at least 1998 lo the present by its violation of federal and state laws as described

herein.

157, The State of Louisiana, by and through the Louisiana Medicaid program

and other

state health care programs, and unaware of Baxter’s fraudulent and illegal practices,

paid the claims submitted by health care providers and third party payers in

connection therewith.

158. Compliance with applicable Medicare, Medicaid and the various other

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federal and

state laws cited herein was an implied, and upon information and belief, also an
express condition of payment of claims submitted to the State of Louisiana in

connection with Baxter’s fraudulent and illegal practices.

159. Had the State of Louisiana known that Baxter was violating the federal

and state

laws cited herein, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal
practices.
160. Asaresult of Baxter’s violations of La. Rev. Stat. Ann. § 438.3 the State
of

Louisiana has been damaged in an amount to be determined exclusive of interest.

161. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to La. Rev. Stat. Ann. §439.1(A) on behalf

of himself and the State of Louisiana.

162. This Court is requested to accept pendant jurisdiction of this related

staic claim as

it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Louisiana in the operation of its Medicaid program.

COUNT XU

NEVADA FALSE CLAIMS AC’

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163. Relators repeat and reallege each allegation contained in paragraphs |

through
55 above as if fully set forth herein.

164, This is a gui tam action brought by Linnette Sun, Greg Hamilton and the
State of Nevada to recover treble damages and civil penalties under the

Nevada False Claims Act, N.R.S. § 357.010, et. seq.
165. N.R.S. § 357.040(1) provides liability for any person who-

(a) knowingly presents or causes to be presented a false
claim for payment or approval;

(0) knowingly makes or uses, or causes to be made or used
a false record or statement to obtain payment or approval!
ofa false claim;

(c) conspires to defraud by obtaining allowance or payment
ofa false claim;

(h) is a beneficiary of an inadvertent submission of a false
claim and, after discovering the falsity of the claim, fails to
disclose the falsity to the state or political subdivision
within a reasonable time.

166. In addition, N.R.S. § 422.560 prohibits the solicitation, acceptance or
receipt of
anything of value in connection with the provision of medical goods or services for

which payment may be made in whole or in part under the Nevada Medicaid program,
167. Baxter violated N.R.S. § 357.040€1) and knowingly caused tens of
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thousands of

false claims to be made, used and presented to the State of Nevada from at least 1998

to the present by its violation of federal and state laws as described herein.

168. The State of Nevada, by and through the Nevada Medicaid program and

other

state health care programs, and unaware of Baxter’s fraudulent and illegal practices,
paid the claims submitted by health care providers and third party payers in
connection therewith,

169. Compliance with applicable Medicare, Medicaid and the various other

federal and

state laws cited herein was an implied, and upon information and belief, also an
express condition of payment of claims submitted to the State of Nevada in

connection with Baxter’s fraudulent and illegal practices.

170. Had the State of Nevada known that Baxter was violating the federal

and state

laws cited herein, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal

practices.

171. As aresult of Baxter’s violations of N.R.S. § 357.040(1) the State of

Nevada has
been damaged in an amount to be determined exclusive of interest.

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172. Relators Sun and Hamilton are private persons with direct and

173.

independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to N.R.S. § 357.080(1) on behalf of himself
and the State of Nevada.

This Court is requested to accept pendant jurisdiction of this related

state claim as

it is predicated woon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Nevada in the operation of its Medicaid program.

COUNT XIV

DISTRICT OF COLUMBIA PROCUREMENT REFORM AMENDMENT

ACT

174.

Relators repeat and reallege cach allegation contained in paragraphs |

through

55 above as if fully set forth herein.

if

175.

176,

This is a qui tam action brought by Linnette Sun, Greg Hamilton and the
District of Columbia to recover treble damages and civil penalties under
the District of Columbia Procurement Reform Amendment Act, D.C.

Code § 2-308.13 et seq.
D.C. Code § 2-308.14{a) provides lability for any person who-

(1). knowingly presents, or causes to be presented, to an
ficer or employee of the District a false claim for
payment or approval;

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(2) knowingly makes, uses, or causes to be made or used,
a lalse record or statement to get a false claim paid or
approved by the District;

© conspires to defraud the District by getting a false claim
allowed or paid by the District;

(8) is the beneficiary of an inadvertent submission of a
alse claim to the District, subsequently discovers the
falsity of the claim, and fails to disclose the false claim to
the District.

177. Baxter violated D.C. Cade § 2-308.14(a) and knowingly caused tens of
thousands

of false claims to be made, used and presented to the District of Columbia from at

least 1998 to the present by its violation of federal and state laws as described herein.

178. The District of Columbia, by and through the District of Columbia
Medicaid

program and other state health care programs, and unaware of Baxter’s fraudulent and
illegal practices, paid the claims submitted by health care providers and third party

payers in connection therewith.
179. Cornpliance with applicable Medicare, Medicaid and the various other
federal and
state laws cited herein was an implicd, and upon information and belief, also an
express condition of payment of claims submitted to the District of Columbia in

connection with Baxter’s fraudulent and illegal practices.

180, Had the District of Columbia known that Baxter was violating the

56

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federal and

state laws cited herein, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal

practices,
181, Asaresult of Baxter’s violations of D.C. Code § 2-308. 14(a) the District
of
Columbia has been darnaged in an amount to be determined exclusive of interest.
182. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to D.C. Code § 2-308.15{b) on behalf of
himself and the District of Columbia.
183. This Court is requested to accept pendant jurisdiction of this related
state clam as
it is predicated upon the exact same facts as the federal claim, and merely asseris
separate damage to the District of Columbia in the operation of its Medicaid program.

COUNT XV

NEW MEXICO MEDICAID FALSE CLAIMS ACT

184. Relators repeat and reallege each allegation contained in paragraphs |

through
55 above as if fully set forth herein.

185, This 1s a qui tam action brought by Linnette Sun, Greg Hamilton and the

a7

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who

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State of New Mexico for treble damages and penalties under (New

Mexico’s Medicaid False Claims Act).

{New Mexico’s Medicaid False Claims Act). provides liability for any

person

(1) knowingly presents, or causes to be presented, a false
or fraudulent claim for payment.or approval;

@) Knowingly makes, uses, or causes to be made or used
a false record or statement to obtain payment or approval
of a claim by the commonwealth or any political
subdivision thereof;

(3 }conspires to defraud the commonwealth or any political
subdivision thereof through the allowance or payment of a
fraudulent claim;

(4) is a beneficiary of an inadvertent submission ofa false
claim to the common wealth or political subdivision
thereof, subsequently discovers the falsity of the claim, and
fails to disclose the false claim to the commonwealth or
political subdivision within a reasonable time after
discovery of the false claim.

Baxter violated New Mexico’s Medicaid False Claims Act and

knowingly

caused hundreds of thousands of false claims to be made, used and presented to the

State of New Mexico from at least 1998 to the present by its reporting of false pricing

statements regarding its products.

188.

The State of New Mexico, by and through the New Mexico Medicaid

program and other state health care programs, and unaware of Baxter’s fraudulent and

58

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illegal practices, paid the claims submitted by health care providers and third party

payers in connection therewith.

189. Honest reporting of WAC data and provision of the best price to

Medicaid was an

implied, and upon information and belief, also an express condition of payment of

claims submitted to the State of New Mexico.

190. Had the State of New Mexico known that Baxter was violating the

federal and

state laws cited herein, it would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal

practices.

191. Asa result of Baxter’s violations of (New Mexico’s Medicaid False

Claims Act), -
the State of New Mexico has been damaged in an amount to be determined, exclusive
of interest.
ff
i

192. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to (New Mexico’s Medicaid False Claims

Act}. on behal? of themselves and the State of New Mexico.

COUNT XVI

59

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VIRGINIA FRAUD AGAINST TAXPAYERS ACT

193. Relators repeat and reallege cach allegation contained in paragraphs |

through

55 above as if fully set forth herein.

194,

195.

person who

This is a qui tam action brought by Linnette Sun, Greg Hamilton and the

State of Virginia for treble damages and penalties under Virginia Fraud

Against Taxpayers Act, (Virginia Code Chapter 3, Article 19.1 § 8.01

et seq.)

(Virginia Code Chapter 3, Article 19.1 § 8.01 e¢ seq.) provides lability

for ary

1) knowingly presents, or causes to be
Bly P >
presented, a false or fraudulent claim for

payment or approval;

(2) knowingly makes, uses, or causes to be made or
used, a lalse record or statement to obiain payment or
approval of a claim by the commonwealth or any pohtical
subdivision thereof:

_ (3) congspires to defraud the commonwealth or any
political subdivision thereof through the allowance or
payment ofa fraudulent claim;

(4) is a beneficiary of an inadvertent submission of
a false claim to the common wealth or political subdivision
thereof, subsequently discovers the falsity of the claim, and
fails to disclose the false claim to the commonwealth or
political subdivision within a reasonable time after
discovery of the false claim.

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if

i
196, Baxter violated (Virginia Code Chapter 3, Article 19.1 § 8.01 ef seg.)

and

knowingly caused hundreds of thousands of false claims to be made, used and
presented to the State of Virginia from at least 1998 to the present by its reporting of

false pricing statements regarding its products.
197. The State of Virginia, by and through the Virginia Medicaid

program and other state health care programs, and unaware of Baxter’s fraudulent and
illegal practices, paid the claims subrnitted by health care providers and third party

payers in connection therewith.
198, Honest reporting of WAC data and provision of the best price to
Medicaid was an
impled, and upon information and belief, also an express condition of payment of
claims submitted to the State of Virginia.
199, Had the State of Virginia known that Baxter was violating the federal
and
stale laws cited herein, it would not have paid the claims submitted by health care

providers and third party payers in connection with Baxter’s fraudulent and illegal

practices,

200. Asaresult of Baxter’s violations of (Virginia Code Chapter 3, Article
19.18

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8.01 et seq.) , the State of Virginia has been damaged in an amount to be determined,

exclusive of interest.

201. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to (Virginia Code Chapter 3, Article 19.1

§ 8.01 et seg.) on behalf of themselves and the State of Virginia,
Hi
Ht
Hf
COUNT XVE

UTAH FALSE CLAIMS ACT
202, Relators repeat and reallege each allegation contained in paragraphs 1
through
55 above as if fully set forth herein

203, Thisis a gui fam action brought by Linnette Sun, Greg Hamilton and the
State of Utah for treble damages and penalties under Utah’s False
Claims Act, Utah Health Code Title 26 ef seg.

204. (Utah Health Code Title 26) provides liability for any person who

{]) knowingly presents, or causes to be presented, a false or fraudulent
claim for payment or approval:

Q) knowingly makes, uses, or causes to be made or used
alge record or statement to obtain payment or approval

62

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of a claim by the commonwealth or any political
subdivision thereof;

GB } conspires to defraud the commonwealth or any political
subdivision thereof through the allowance or payment ofa
fraudulent claim;

(9) is a beneficiary of an inadvertent submission ofa false
Claim to the common wealth or political subdivision
thereof, subsequently discovers the falsity of the claim, and
fails to disclose the false claim to the commonwealth or
political subdivision within a reasonable time after
discovery of the false claim.

205. Baxter violated (Utah Health Code Title 26) and knowingly caused

hundreds

of thousands of false claims to be made, used and presented to the State of Utah from
at least 1998 to the present by its reporting of false pricing statements regarding its

products.
I

206, The State of Utah, by and through the Utah Medicaid program and

other state

health care programs, and unaware of Baxter’s fraudulent and illegal practices, paid
the claims submitted by health care providers and third party payers in connection

therewith.

207. Tlonest reporting of WAC data and provision of the best price to

Medicaid was an
implied, and upon information and belicf, also an express condition of payment of

63

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clairas submitted to the State of Utah.
208. Had the State of Utah known that Baxter was violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care

providers and third party payers in connection with Baxter’s fraudulent and illegal

practices.

209. As aresult of Baxter’s violations of (Utah Health Code Title 26) the
State of

Utah has been damaged in an amount to be determined, exclusive of interest.

210. Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to (Utah Health Code Title 26) on behalf

of themselves and the State of Utah.

COUNT XVHI

ARIKANSAS MEDICAID FRAUD FALSE CLAIMS ACT

211. Relators repeat and reallege cach allegation contained in paragraphs |

through
55 above as if fully set forth herein

212, Thisis a qui tam action brought by Linnetle Sun, Greg Hamilton and the
State of Arkansas for treble damages and penalties under Arkansas’s

Medicaid Fraud False Claims Act, (Arkansas Code $20-77-901 et. Seq.)

213. (Arkansas Code §20-77-90/ et. Seg.) provides liability for any person
64

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214,

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who

(1) knowingly presents, or causes to be presented, a false or fraudulent

claim for payment or approval;

C} knowingly makes, uses, or causes to be made or used
a talse record or statement to obtain payment or approval
of a claim by the commonwealth or any political
subdivision thereof;

(3) conspires to defraud the commonwealth or any political
subdivision thereof through the allowance or payment ofa
fraudulent claim;

(9) is a beneficiary of an inadvertent submission of a false
claim to the common wealth or political subdivision
thereof, subsequently discovers the falsity of the claim, and
fails to disclose the false claim to the commonwealth or
political subdivision within a reasonable time after
discovery of the false claim.

Baxter violated (Arkansas Code $20-77-901 et. Seg.) and knowingly

caused

hundreds of thousands of false claims to be made, used and presented to the State of

Arkansas from at least 1998 to the present by its reporting of false pricing statements

regarding its products.

215.

The State of Arkansas, by and through the Arkansas Medicaid program

and other

state health care programs, and unaware of Baxter’s fraudulent and illegal practices,

paid the claims submitted by health care providers and third party payers in

connection therewith.

65

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216. Honest reporting of WAC data and provision of the best price to

Medicaid was an

implied, and upon information and belief, also an express condition of payment of

claims submitted to the State of Arkansas.

217, Had the State of Arkansas known that Baxter was violating the federal

and

state laws cited herein, 1t would not have paid the claims submitted by health care
providers and third party payers in connection with Baxter’s fraudulent and illegal
practices,

if

218. Asaresult of Baxter’s violations of (Arkansas Code $20-77-90/ et.
Seq.) the
State of Arkansas has been damaged in an amount to be determined, exclusive of
interest.
219, Relators Sun and Hamilton are private persons with direct and
independent knowledge of the allegations of this Complaint, who have
brought this action pursuant to (Arkansas Code §20-77-90 et. Seg.) on

bchalf of themselves and the State of Arkansas,

PRAYER FOR RELIEF

FIRST CAUSE OF ACTION

66

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1. Judgement be ordered against the Defendant in an amount equal to three
times the damages sustained by the United States as a result of

Defendants' conduct;

2, A civil penalty be assessed of not less than five thousand, five hundred
dollars ($5,500.00) and not more than eleven thousand dollars
($11,000.00) for each violation of 31 U.S.C, § 3729;

3, That Relators, as Qui Tam Plaintiffs, be awarded the maximum amount
allowed pursuant to 31 U.S.C. §3730(d) and/or any other applicable

provision of law;
4. Attorneys’ fees and costs according to proof:
SECOND CAUSE OF ACTION
5, General damages;
6, Two times the amount of back pay;

7. Interest upon said back pay;

8. Special damages;
if

9, Reinstatement with full seniority;

10. Litigation expenses and reasonable attorneys’ fees;
THIRD CAUSE OF ACTION

11. General damages;
12, Back pay;

67

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13.
14,
L5.
16,
17,

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Interest upon said back pay;

Special damages;

Exemplary damages;

Reinstatement with full seniority;

Litigation expenses and reasonable attorneys’ fees;

FOURTH CAUSE OF ACTION

To the STATE OF MASSACHUSETTS:

18.

19,

20.
21,

Three times the amount of actual damages which the State of
Massachusetts has sustained as a result of Baxter Laboratories’

fraudulent and illegal practices;

A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the

State of Massachusetts;
Prejudgment interest; and

All costs incurred in bringing this action.

To RELATOR, Linnette Sun:

22.

23,

24,

The maximum amount allowed pursuant to Mass. Gen. Laws Ann. 12

8 5(A) and/or any applicable provision of law;
Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and
An award of reasonable attorneys’ fees and costs.

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FIFTH CAUSE OF ACTION
To the STATE OF CALIFORNIA:

25. Three times the amount of actual damages which the State of California
has sustained as a result of Baxter Laboratories’ fraudulent and illegal
practices;

26. Acivil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the
State of California;

27.  Prejudgment interest; and

28. All costs incurred in bringing this action.

To RELATOR, Linnette Sun:

29, The maximum amount allowed pursuant to Cal. Gov’t. Code § 12650

and/or any applicable provision of law;

30. Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and
31. An award of reasonable attorneys’ fees and costs.
SIXTH CAUSE OF ACTION
To the STATE OF HAWAII:

32. Three times the amount ofactual damages which the State of Hawaii has
sustained as a result of Baxter Laboratories’ fraudulent and illegal

practices;

69

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33. <A civil penalty of not less than $5,000 and not more than $10,000 for
each false clatm which Baxter Laboratories caused to be presented to the
State of Hawaii;
34.  Prejudgment interest; and
35, All costs incurred in bringing this action.
To RELATOR, Linnetle Sun:

36, The maximum amount allowed pursuant to Haw. Rev. Stat. § 661-21

and/or any applicable provision of law;

37. Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and
38. Anaward of reasonable attorneys’ fees and costs.
SEVENTH CAUSE OF ACTION
To the STATE OF ILLINOIS:

39, Three times the amount of actual damages which the State of Hlinois has
sustained as a tesult of Baxter Laboratories’ fraudulent and illegal
practices;

40. Acivil penalty of not less than $5,000 and not more than $10,000 for

each false claim which Baxter Laboratories caused to be presented to the

State of Tlinois;
41.  Prejudgment interest; and

42. All costs incurred in bringing this action.

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To RELATOR, Linnette Sun:

43. ‘The maximum amount allowed pursuant to 740 ILCS 175 and/or any

applicable provision of law;
44. Reimbursement for reasonable expenses which Relator incurred in
connection with this action: and
45, An award of reasonable attorneys’ fees and costs.
Hl
EIGHTH CAUSE OF ACTION
To the STATE OF FLORIDA:

46, Three times the amount of actual damages which the State of Florida has
sustained as a result of Baxter Laboratories’ fraudulent and illegal
practices;

47, Accivil penalty of not less than $5,000 and not more than $10,000 for

each false claim which Baxter Laboratories caused to be presented to the

State of Florida;
48,  Prejudgment interest; and
49, All costs incurred in bringing this action.
To RELATOR, Linnette Sun:

50, The maximum amount allowed pursuant to Fla. Stat. § 68.081 and/or

any applicable provision of law;

51. Reimbursement for reasonable expenses which Relator incurred in

7h

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connection with this action; and
52, An award of reasonable attorneys’ fees and costs.
NINTH CAUSE OF ACTION
To the STATE OF TEXAS:

53. Three times the amount of actual damages which the State of Texas has
sustained as a result of Baxter Laboratories’ fraudulent and illegal

practices;

54, A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the

State of Texas;
55. Prejudgment interest; and
56, All costs incurred in bringing this action,
if
To RELATOR, Linnette Sun:

57. ‘The maximum amount allowed pursuant to Tex, Stat. §V.T.C.A. Hum.

Res, Code § 36.001 and/or any applicable provision of law;

58. Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and
59. An award of reasonable attorneys’ fees and costs.
TENTH CAUSE OF ACTION
To the STATE OF TENNESSEE:

72

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60.

61.

62.
63.

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Three times the amount of actual damages which the State of Tennessee
has sustained as a result of Baxter Laboratories’ fraudulent and illegal

practices;

A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the

State of Tennessee:
Preyudgment interest; and

All costs incurred in bringing this action.

To RELATOR, Linnette Sun:

64,
65,
66.

it

if

if

The maximum amount allowed pursuant to Tenn. Code Ann. §§ 71-5-

181 and/or any applicable provision of law;

Reimbursement for reasonable expenses which Relator incurred in

connection with this action: and.

An award of reasonable attorneys’ fees and costs.

HLEVENTH CAUSE OF ACTION

To the STATE OF DELAWARE:

67,

Three times the amount of actual damages which the State of Delaware

has sustained as a result of Baxter Laboratories’ fraudulent and illegal

73

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practices;

68, A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the
state of Delaware:

69. Prejudgment interest; and

70. All costs incurred in bringing this action.

To RELATOR, Linnette Sun:

71. The maximum amount allowed pursuant to Title 6, Chapter {2 of the
Delaware Code and/or any applicable provision of law;

72. Reimbursement for reasonable expenses which Relator incurred in
connection with this action; and

73. An award of reasonable attorneys’ fees and costs.

TWELFTH CAUSE OF ACTION

To the STATE OF LOUISIANA:

74,

75,

76.

Three times the amount of actual damages which the State of Louisiana
has sustained as a result of Baxter Laboratories’ fraudulent and illegal
practices;

A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the

State of Louisiana;

Prejudgment interest; and

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77, All costs incurred in bringing this action.
if
To RELATOR, Linnette Sun:

78, ‘The maximum amount allowed pursuant to La, Rev. Stat. Ann. § 437.1

and/or any applicable provision of law;

79, Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and
80. Anaward of reasonable attorneys’ fees and costs.
THIRTEENTH CAUSE OF ACTION
To the STATE OF NEVADA:

81. Three times the amount of actual damages which the State of Nevada
has sustained as a result of Baxter Laboratories’ fraudulent and illegal
practices;

82. A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the
State of Nevada;

83,  Prejudgment interest; and

84, All costs incurred in bringing this action.

To RELATOR, Linnette Sun:

85. The maximum amount allowed pursuant to N.R.S. § 357.010 and/or any

applicable provision of law;

75

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86. Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and

&7. An award of reasonable attorneys’ fees and costs.

if
FOURTEENTH CAUSE OF ACTION
To the DISTRICT OF COLUMBIA:

88. Three times the amount of actual damages which the District of

Columbia has sustained as a result of Baxter Laboratories’ fraudulent
and illegal practices;

89. A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the

District of Columbia;
90,  Prejudgment interest; and
91. All costs incurred in bringing this action,
To RELATOR, Linnette Sun:
92, The maximum amountallowed pursuant to D.C, Code § 2-308.13 and/or
any applicable provision of law;

93, Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and

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94. An award of reasonable attorneys’ fees and costs.
FIFTEENTH CAUSE OF ACTION
To the STATE OF NEW MEXICO:

95, Three times the amount of actual damages which the District of
Columbia has sustained as a result of Baxter Laboratories’ fraudulent

and illegal practices;

96, A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the

District of Columbia;
97,  Prejudgment interest; and
98. All costs incurred in bringing this action.
if
‘To RELATOR, Linnette Sun:

99, ‘Themaximum amount allowed pursuant to D.C. Code § 2-308.13 and/or

any applicable provision of law;

100, Reimbursement for reasonable expenses which Relator incurred in

connection with this action: and
101. An award of reasonable attorneys’ fees and costs.
SIXTEENTH CAUSE OF ACTION
To the STATE OF VIRGINIA:
102. Three times the amount of actual damages which the District of

77

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Columbia has sustained as a result of Baxter Laboratories’ fraudulent

and illegal practices;

103. A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the

District of Columbia;
104, Prejudgment interest; and
105. All costs incurred in bringing this action.
To RELATOR, Linnette Sun:
106. The maximum amountallowed pursuant to D.C. Code § 2-308,13 and/or
any applicable provision of law;

107. Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and
108. An award of reasonable attorneys’ fees and costs.
if
if
if
SEVENTEENTH CAUSE OF ACTION
To the STATE OF UTAIL:

109. Three times the amount of actual damages which the District of
Columbia has sustained as a result of Baxter Laboratorics’ fraudulent

and illegal practices;

78

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110. A civil penalty of not less than $5,000 and not more than $10,000 for

IL.

112,

each false claim which Baxter Laboratories caused to be presented to the

District of Columbia;
Prejudgment interest; and

All costs incurred in bringing this action.

To RELATOR, Linnette Sun:

113,

114,

LL.

The maximum amount allowed pursuant to D.C. Code § 2-308.13 and/or

any applicable provision of law;

Reimbursement for reasonable expenses which Relator incurred in

connection with this action; and
An award of reasonable attorneys’ fees and costs.

EIGHTEENTH CAUSE OF ACTION

To the STATE OF ARKANSAS:

116,

L17.

118.

119,

Three times the amount of actual damages which the District of
Columbia has sustained as a result of Baxter Laboratories’ fraudulent

and illegal practices;

A civil penalty of not less than $5,000 and not more than $10,000 for
each false claim which Baxter Laboratories caused to be presented to the
District of Columbia;

Prejudgment interest; and

All costs incurred in bringing this action.

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To RELATOR, Linnette Sun:

120. Themaximum amount allowed pursuant to D.C. Code § 2-308.13 and/or

any applicable provision of law;

121. Reimbursement for reasonable expenses which Relator incurred in
connection with this action; and

122. An award of reasonable attorneys’ fees and costs.

FOR ALL CAUSES OF ACTION

123. Such other and further relief as the Court deems proper.

DATED: January, 2005 LAW OFFICES OF MARK ALLEN
KLEIMAN —
B y
MARK ALLEN KLEIMAN

California State Bar No. 115959
11755 Wilshire Blvd., Ste. 2150
Los Angeles, CA 90025
310-442-4820

310-442-4830 (fax)

DATED: January, 2005 LAUREN JOHN UDDEN

B y

~ LAUREN JOHN UDDEN

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California State Bar No. 83118
15 W. Carrillo Street, Suite B
Santa Barbara, California 93101
805-879-7544

805-962-7501 (fax)

ATTORNEYS FOR RELATOR
DEMAND FOR JURY TRIAL

Relator hereby demands a jury trial.

DATED: January, 2005 LAW OFFICES OF MARK ALLEN
KLEIMAN :

B ¥y

MARK ALLEN KLEIMAN
California State Bar No. 115959
12400 Wilshire Blvd, 4" Floor
Los Angeles, CA 90025
310-442-4820)

310-442-4830 (fax)

DATED: January _, 2005 LAUREN JOTIN UDDEN

B y

LAUREN JOHN UDDEN
California State Bar No. 83118

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ATTORNEYS FOR RELATOR

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